     Case 2:21-cr-00049-WFN         ECF No. 185   filed 01/24/23   PageID.2019 Page 1 of 1


                                                                                  FILED IN THE
                                                                              U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT OF WASHINGTON

 1
                                                                         Jan 24, 2023
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                                                                             SEAN F. MCAVOY, CLERK

 3
 4                                UNITED STATES DISTRICT COURT
 5                              EASTERN DISTRICT OF WASHINGTON
 6    UNITED STATES OF AMERICA,
                                                          No.      2:21-CR-0049-WFN-1
 7
                                   Plaintiff,
 8                                                        ORDER
                -vs-
 9
      RONALD CRAIG ILG,
10
                                   Defendant.
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12
13              Pending before the Court is Defendant's Motion to Seal re: Supplemental Sentencing
14   Exhibit. ECF No. 180. Defendant seeks an order sealing an exhibit that reveals the identity
15   of Witness 1, which has been protected throughout this proceeding. The Court has reviewed
16   the file and the Motion and is fully informed. Accordingly,
17              IT IS ORDERED that Defendant's Motion to Seal re: Supplemental Sentencing
18   Exhibit, filed January 23, 2023, ECF No. 180, is GRANTED. The proposed filed document
19   shall be filed under seal.
20              The District Court Executive is directed to file this Order and provide copies to
21   counsel.
22              DATED this 24th day of January, 2023.
23
24
25                                                     WM. FREMMING NIELSEN
     01-23-23                                   SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER
